405 F.2d 878
    Eddie Lee HILL, Appellant,v.FLOTA MERCANTE GRANCOLOMBIANA, S.A., Appellee.
    No. 10134.
    United States Court of Appeals Fifth Circuit.
    Jan. 14, 1969.
    
      Clifton S. Carl, Garrett &amp; Carl, New Orleans, La., for appellant.
      Benjamin W. Yancey, M. D. Yager, john R. Peters, Jr., Jones, Walker, Waechter, Poitevent, Carrere &amp; Denegre, New Orleans, La., for appellee.
      Before WISDOM and GODBOLD, Circuit Judges, and HUGHES, Judge.
      PER CURIAM:
    
    
      1
      We agree with the excellent opinion of the district court, appearing at 267 F.Supp. 380 (1968), holding that under the evidence in this admiralty case, brought by an injured longshoreman, the vessel was not proved to be unseaworthy and appellant was injured through his own negligence.
    
    
      2
      Affirmed.
    
    